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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
USA                                                          CASE NUMBER:

                                                                              CR07-01048-VBF
                                              PLAINTIFF(S)
                              v.
LASHAWN LYNCH
                                                                       NOTICE OF MANUAL FILING
                                            DEFENDANT(S).

PLEASE TAKE NOTICE:
          The above-mentioned cause of action has been designated as an electronically filed case. In accordance
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DEFENDANT LASHAWN LYNCH'S SENTENCING POSITION; ATTACHMENTS


          Document Description:
          G      Administrative Record
          G      Exhibits
          G      Ex Parte Application for authorization of investigative, expert or other services pursuant to the
                 Criminal Justice Act [see Local Civil Rule 79-5.4, Documents to be excluded, (h)]
          ✔
          G      Other


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          ✔
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JUNE 3, 2009                                                      ALAN EISNER
Date                                                              Attorney Name
                                                                  LASHAWN LYNCH
                                                                  Party Represented
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G-92 (03/09)                                   NOTICE OF MANUAL FILING
